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IN THE UNITED STATES DISTRICT COURT
F()R THE EASTERN DISTRICT OF PENNSYLVANIA

 

 

SHANNON NEWTON
4416 Grove Avenue :
Trevose, PA 19053 : CIVIL ACTION
Plaintiff, : No.:
v.

RED ROOF INNS, INC. d/b/a RED ROOF INN .
605 South Front Street : JURY TRIAL DEMANDED
Columbus, OH 43215 ‘

Defendant.

 

CIVIL ACTION COMPLAINT

Shannon Newtown (hereinaj%er referred to as “Plaintiff,” unless indicated otherwise) by

and through her undersigned counsel, hereby avers as follows:
INTRODUCTION

l. Plaintiff has initiated this action to redress violations by Red Roof Inns, Inc. d/b/a
Red Roof Inn of the Americans with Disabilities Act, as amended (“ADA” - 42 U.S.C. §§ 12101
et seq.) and the Pennsylvan_ia Human Relations Act (“PHRA”).1 As a direct consequence of
Defendant’S unlawful actions, Plaintiff seeks damages as set forth herein.

JURISDICTION AND VENUE

2. This Court has original subject matter jurisdiction over the instant action pursuant

to 28 U.S.C. §§ 1331 and 1343(a)(4) because it arises under the laws of the United States and

seeks redress for violations of federal laws.

 

l Plaintiff’s claims under the PHRA are referenced herein for notice purposes She is required to wait 1 full year
before initiating a lawsuit from the date of dual-filing with the EEOC. Plaintiff must however file her lawsuit in
advance of same because of the date of issuance of her federal right-to-sue letter under the ADA. Plaintiff’S PHRA
claims however will mirror identically her federal claims under the ADA.

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3. This Court may properly assert personal jurisdiction over Defendant because its
contacts with this state and this judicial district are sufficient for the exercise of jurisdiction over
Defendant to comply with traditional notions of fair play and substantial justice, satisfying the
standard set forth by the United States Supreme Court in Inr’l Shoe Co. v. Washingron, 326 U.S.
310 (1945), and its progeny.

4. Pursuant to 28 U.S.C. § 139l(b)(1) and (b)(Z), venue is properly laid in this
district because Defendant is deemed to reside where it is subjected to personal jurisdiction,
rendering Defendant a resident of the Eastern District of Pennsylvania.

5. Plaintif`f filed a Charge of Discriniination and retaliation with the Equal
Ernployment Opportunity Commission (“EEOC”) and also dual-filed said Charge With the
Pennsylvania Human Relations Commission (“PI-IRC”). Plaintiff has properly exhausted her
administrative proceedings with the EEOC before initiating this action by timely filing her
Charge of Discrirnination with the EEOC, and by filing the instant lawsuit within 90 days of

receiving a right-to-sue letter from the EEOC.

PARTIES
6. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.
7. Plaintiff is an adult individual, with an address as set forth in the caption.

8. Defendant Red Roof lnns, Inc. d/b/a Red Roof Inn (hereinafter “Defendant”)
operates and franchises a chain of hotels in several states across the United States (including
Pennsylvania), with a corporate location as set forth in the caption. Plaintiff was employed
through and worked at Defendant’s Red Roof lnn located at 3011 Cabot Blvd., Langhorne, PA

19047.

 

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9. At all times relevant herein, Defendant acted by and through its agents, servants
and employees, each of whom acted at all times relevant herein in the course and scope of their
employment with and for the Defendant

FACTUAL BACKGROUND
` 10. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
hill.

11. Plaintiff Was employed by Defendant in a Guest Services/night auditor role from
in or about October of 2017 through on or about April ll, 2018, for Defendant’s Red Roof Inn
located at 3011 Cabot Blvd., Langhorne, Pennsylvania.

12. At all relevant times during Plaintiff’s employment with Defendant, Plaintiff was
suffering from serious and long-term disabilities, including but not limited to Anxiety, Post-
Traumatic Stress Disorder, Depression and other related health conditions/complications.

13. As a result of her aforesaid health conditions, Plaintiff suffered from_panic-
attacks, sweats, distress, and insomnia, Which (at times) limited her ability to sleep, engage in
social interaction, and Work - among other daily life activities

14. Despite her aforementioned health conditions and limitations, Plaintiff Was still
able to perform the duties of her job well with Defendant; however, Plaintiff did require
reasonable medical accommodations at times (discussed further inji'a).

15 . Plaintiff was interviewed and hired by Defendant’s Hotel Manager, Jerry
Williams (hereina]‘ier “Williams”).

16. During Plaintiff’s initial application/interview With Defendant, Williams informed
Plaintiff that they were looking to fill a position for 24-32 hours per week. Plaintiff informed

Williarns that because of her aforesaid disabilities, she required a schedule of only 3 days per

 

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week for a total of 24 hours per week. Plaintiff explained to Williams that working additional
shifts or hours would exacerbate her known disabilities

17. Knowing Plaintiff’ s health conditions and need for an accommodation to only
work 24 hours per week, Williams agreed to Plaintist 3 day/24 hour per week schedule and
hired her.

18. Upon hire, Plaintiff worked Sundays, Mondays, and Tuesdays from 11:00 p.m.
until 7:00 a.m. for a total of 24 hours per week.

19. The aforesaid schedule lasted for approximately one month, at which point in
time, William began gradually ask Plaintiff to cover additional shifts, in addition to changing the
hours and days for each of her shifts

20. By the end of Novernber 2017, Plaintiff was being asked to and actually worked
40 hours per week.

21. The additional hours that Plaintiff was assigned and the change in schedule
exacerbated her disabilities, which required additional treatment and medication

22. For example, in addition to the added hours, Williams would often schedule
Plaintiff for a 11:00 p.m. to 7:00 a.m. shift on one night, followed by a 3100 p.m. to 11:00 p.m.
shift the following day. The lack of time off between these shifts increased Plaintist insomnia,
anxiety, and panic-attacks

23. Plaintiff reiterated to and reminded Williams on several occasions the mutual
understanding at the time of her hire (i.e. that she could not work beyond 24 hours per week
without exacerbating her aforesaid health conditions). ln response, Williams would always tell

Plaintiff “l need you here,” and “l have a business to run.”2

 

2 To further establish Williarns’ pattern of hostility toward Plaintiff, in or about March of 20 l 8, Plaintiff injured her
wrist at horne and was initially required to wear a half-arm cast and stay horne for two days. When Plaintiff went

 

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24. Despite Plaintiff’ s repeated requests, Williams failed to accommodate Plaintiff` s
aforesaid health conditions by refusing to provide her With a 24-hour per week schedule (even
though he had agreed to provide this accommodation prior to hiring her and was in fact
providing this accommodation for the first approximate month of her employment).

25. Because Plaintiff was afraid to lose her job, she continued to work against her
limitations Toward the end of Plaintiff’ s employment, she was consistently being scheduled for
and worked up to six days per week - M the amount of days Plaintiff and Williams had
agreed upon at the time of her hire.

26. As a result of Plaintist increased schedule, Plaintiff began to develop
debilitating headaches, and even greater anxiety and panic-attacks, which required an increase in
and change to her medications

27. Therefore, on or about April ll, 2018, Plaintiff s doctor faxed a letter to Williams
reiterating what Plaintiff had already informed Williams of prior to being hired: “due to
[Plaintiff s] mental health condition she can only work 24 hours per week.”

28. lrnmediately after receiving Plaintiff’s doctor’s April ll, 2018 letter, Williams
called Plaintiff and informed her that he could not accommodate her requested 24 hours per
week schedule and terminated her. Williams further informed Plaintiff that she “had screwed
over a lot of people” and “she should have a nice life.”

29. Defendant’s management rejected Plaintiff’ s aforesaid accommodation requests
without providing any logical or legitimate reason as to why and without first engaging in any

interactive process, as required by the ADA. Plaintiff believes and avers that she was terminated

 

back to the doctor after two days, she was informed by her physician that she should stay out of work a little longer
until her wrist healed. Plaintiff thereafter asked Williams if she could take off a few additional days due to her wrist
injury, in order for it to properly heal. Williams responded “no” without providing any reason as to why. Plaintiff
was forced to return to work immediately and work through the pain in her wrist.

 

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because of her known, perceived and/or record of disabilities and in retaliation for requesting
reasonable medical accommodations7 and /or Defendant’s complete and utter failure to
accommodate Plaintiff s health conditions
COUNT I
Violzgions of the American’s with Disabilities Act, as amended {“A])A”}
([1] Actual/Perceived/Record of Disability Discrimination; [2] Retaliation; and [3] Failure to Accommodate)

30. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

31. At all relevant times during Plaintiff’ s employment with Defendant, Plaintiff was
suffering nom serious and long-term health disabilities including but not limited to Anxiety,
Post-Traumatic Stress Disorder, Depression and other related health conditions/complications

32. As a result of her aforesaid disabilities Plaintiff suffered from panic-attacks
sweats, distress, and insomnia, which (at times) limited her ability to sleep, engage in social
interaction, and work - among other daily life activities

33. Despite Plaintiffs aforementioned health conditions and limitations she was still
able to perform the duties of her job well with Defendant; however, Plaintiff did require
reasonable medical accommodations at times

34. Plaintiff informed Defendant’s management during the interview/application
process that she would only be able to work 24 hours per week due to her health conditions

35 . Defendant agreed to provide Plaintiff with the aforesaid reasonable

accommodation and Plaintiff was only scheduled to work 24 hours a week for the first

approximate month after her hired date.

 

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36. Approximately one month after Plaintiffs hire date, Defendant began refusing
Plaintiff’s request ton work only 24 hours per week without providing her with a logical or
legitimate reason as to why and also failed to engage in any interactive process with her.

37. Instead of accommodating her health conditions, Defendant continued to assign
Plaintiff additional hours and consecutive shifts, which only exacerbated her health conditions

38. As a result of her exacerbated health conditions on or about April 11, 2018,
Plaintiff’ s doctor faxed a letter to Williarns reiterating what Plaintiff had already informed
Williarns of prior to being hired: “due to [Plaintiff’s] mental health condition she can only work
24 hours per week.”

39. Immediately after receiving Plaintiff`s doctor’s April 11, 2018 letter, Williams
called Plaintiff and informed her that he could not accommodate her requested 24 hours per
week schedule and terminated her. Williams further informed Plaintiff that she “had screwed
over a lot of people” and “she should have a nice life.”

40. Therefore, Plaintiff believes and avers that she was terminated from Defendant
because of: (1) her known and/or perceived health problems; (2) her record of impairment; (3) in
retaliation for requesting reasonable medical accommodations and/or (4) Defendant’s complete
and utter failure to accommodate Plaintiff’s health conditions

41. _These actions as aforesaid constitute unlawful discrimination, retaliation, and a
failure to accommodate under the ADA.

WHEREFORE, Plaintiff prays that this Court enter an Order providing that:
A. Defendant is to promulgate and adhere to a policy prohibiting discrimination in

the future against any employee(s);

 

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B. Defendant is to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff
whole for any and all pay and benefits Plaintiff would have received had it not been for
Defendant’s illegal actions including but not limited to back pay, front pay, salary, pay
increases bonuses insurance, benefits 401(k) and retirement, training, promotions
reinstatement and seniority;

C. Plaintiff is to be awarded punitive damages as permitted by applicable law, in an
amount believed by the Court or trier of fact to be appropriate to punish Defendant for their
willful, deliberate, malicious and outrageous conduct and to deter Defendant or other employers
form engaging in such misconduct in the future;

D. Plaintiff is to be accorded other equitable and legal relief as the Court deems just,
proper, and appropriate (including but not limited to damages for emotional distress pain,
suffering, and humiliation); and

E. Plaintiff is to be awarded the costs and expenses of this action and reasonable

attorney’s fees as provided by applicable federal and state law.
Respectfully submitted,
KARPF, KARPF & CERUTTI, P.C.

By:

 

Ari R. Karpf, Esq.
3331 Street Rd.
Two Greenwood Square, Suite 128
Bensalem, PA 19020
Dated: November 8, 2018 (215) 639-0801

 

 

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IN THE UNITED STATES DISTRICT COU'RT
- FOR THE EASTERN DISTRICT OF PENNSYLVANIA

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' . . czle Acrlo
Shannon Newton ` ' :` N 1 ,
\v. _ ' - '
Red near inns inc,, afb/a Red noonan § ‘ ' NO.

In accordance with the Civil Iustice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Mauagement Truek Designation Foxrn in all civil cases at the time of
filing the complaint and serve a copy on all defendants (See § l :03 of the lan set forth-on the reverse
side of this fonn. 111 the event that a defendant does not agree with t e laintiff regarding Said
designation that efendant shall, with its first appearance, submit tc the cler of court and serve on
the plaintiff and all other parties a Case Management Track_ Desiguation_ Form specifying the track
_to which that defendant believes the case should be assigned '

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(a) Haheas Cerpus- Cases brought under Z'SU,S.C. § 2241 through § 2255. ( )
(b) Social Security - Cases requesting review of a decision of the Secretary of l-Iealth
and Hnman Services denying plaintiff Social Security Benefrts. l ( )

(c) Arbiu'ation - Cases required to be designated for arbitration under Local Civil Rute 53.2. ( ')

(d) Asbestos »- Cases involving claims for personal injury or property damage item
exposure to asbestos ( )
(e) Specia] Mana ement - Cases that do not fall into tracks {a) through (d) that‘are

commonly re erred to as complex and that need special or intense management lay
the coert. (See reverse side cf this form for a detailed explanauon of special

 

 

 

management cases.) ( }
{t) Standard Managernent -» Cases that do not fall into any one of the other tracks (X )
1 1/9/2018 ¢@` Plaintiff
Date Attorney~at-law Attorney for
inst 639-osm (215) 639-4970 akai-pr@karpf.law.com
Telephone FAX Number E-Mall Addrcss

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UNITED STATES DISTRICT COURT
FOR TI'IE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel crpro seplctih!tlj" to indicate the category ofthe cruebe the purpose of assignment to the appropriate calendar)

Address efPlaintii-'f: 4416 Grove Avenue, Trevose, PA 19053

 

AddIeSS ofDefendam: 605 South Front Street, Columbus, OH 43215

 

Place of Accident, lncident or Transaction: Defendant’s place of business

 

 

RELA TED CASE, IFANY:
Case Nurnbcr: Judge: Date Terrninated:

Civil cases are deemed related when Yes is answered to any of the following questions:

l. ls this case related to property included in an earlier numbered suit pending or within one year Yes E No E
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes \:| No
pending or within one year previously terminated action in this court?

3, Does this case involve the validity or infringement of a patent already in suit or any earlier Yes |:| No
numbered case pending or Withio one year previously terminated action of this court?

4. ls this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes m No
case filed by the same individua]?

l certify that, to my knowledge, the within case I:] is / is not related to any case now pending or within one year previously terminated action in
this court except as noted above

DATE: 11/9/2018

 

ARK2484/91538

 

Attisméy-at-Law /Pro Se Plainrz'yj" Atiorney I.D. # (zfczpplicable)

 

 

CIVIL: (Plal.:c a \l in one category unly)

 

 

 

 

 

A. Federal Quesn`on Cases: B. Diversny .Iurisdicn'cn Cases:
g l bidemnity Contract, Marine Contract, and A]l Other Contracts ]:I 1 Insurance Contract and Other Conu'acts
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I:[ 3 Jones Act-Pcrsonal Injury |:l 3 Assault, Defamation
m 4 Antih'ust |:| 4 Marine Persona] lnjury

5 Patent |:| 5 Motor Vehicle Pcrsonal lnjury
E 6 Labor-Managernent Relations |:| 6 Other Personal lnjury (Piease spectjj;):
|X_] 7 Civil sights |:| 7 mccuch Liabiliry
|:| 8 Hab cas Corpus |:| 8 Products Liability - Asbestos
E 9. Securities Act(s) Cases g 9 All other Diversity Cases

10. Social Seeurity Review Cases (Plecse speci‘$'):
|:] ll. A]l other Federal Question Cascs

(P!ease specify :
ARBITRATION CERTIFICATION
('.T`he eject ofrhis certification is to remove the carefrom eligibility for arhirrutfwz.)

l, Ari R- Karpf , counsel ofrecurd or pro se pluintiff, do hereby ccrtify:

 

Pursuant to Local Civil Rule 53.2, § 3(c ) (2), that to the best of my knowledge end belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

|:| Relief other than monetary damages is soughtl

 
 
 

DATE¢ 11/9/2018 . - . ARK2484/91538

 

r hir£mey~at-Law /Pro Se Plaintrf` Attomey I.D. # (zfcppiicab!e)

NOTE: A trial de novo Will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

civ. 509 (5/2013,)

 

 

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JS44 (Rev. 06/11) CIVIL COVER SHEET

The JS 44 civil cover sheet and the igifonnation contained herein neither replace nor sup§lernent the filing and service of pleadings or other papers as required b law, except as
provided b local rules of _court. Tl:.is form, approved by the Judicial Coiiference of the njted States in September 1974, is required for the use of t]:.e C erk of ourt for the
purpose o initiating the civil docket sheet. (SEE INSTRUCTIONS ONNEXTPAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS DEFENDANTS
NEWTON, SHANNON RED ROOF INNS, INC. d/b/'a RED ROOF INN
(b) county ofResidedce drFaIst Liseed Plaintiff Bucks county dfizedidencd dfFiisr used Defendant Franklm
[EXCEPTLNUS. FLAINTIFF CASE.S) (IN U.$`. PLAINTIFF CASES ON.LU

NOTE: ]N LAND CONDEM}\YATION CASES, USE THE LO(.`AT[ON OF
THE TRACT UF LAND I'NVOLV`ED.
(C) Attomeys (Fir'm Name. Addr'ess, and Telephone Numbe)j Attomeys (_IfKnown)

Kai'pf, Karpf & Cemtti, P.C.; 3331 Street Road, TWo Greenwood Square,
Suite 128, Bensalem, PA 19020; (215) 639-0801; akarpf@karpf-law.com

 

 

II. BASIS OF J_URISDICTIGN (Pi'ace an "X"in One Box Unfy) III. CITIZENSHIP OF PRINCIPAL PARTIES [Pi'ar:e an “X” in One Box_,l%r?!ainfif f
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IV. NATURE OF SUIT (Place an "X" in One Bmc On.'y) Click here for: Nat“ui'e ofSuit Code Descriptious

              

   

 
     

   

    
   

             

 
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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VII. REQUESTED IN 0 cHECK 11= mrs is A cLAss ACTION DEMAND $ cHECK YES only if demanded id complaint
COMPLAINT: UNDER RULE 23, F-R-CV~P» JURY DEMAND= XYes 'No
VIII. RELATED CASE(S) 3 k
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